   AO 187Case    9:24-cr-80116-AMC
          (Rev. 11/2002) Exhibit and Witness List        Document 25 Entered on FLSD Docket 09/25/2024 Page 1 of 1
                                                         U NITED S TATES D ISTRICT C OURT
                                                            Southern District of Florida
                                                    Case Number: 24-mj-8441-RMM

United States of America

                                               Plaintiff
   v.

Ryan Wesley Routh,
                                               Defendant

                                                                 EXHIBIT AND WITNESS LIST

   P R E SI D IN G J U D G E                                      PLAINTIFF’S ATTORNE Y                                   DEFENDA N T’S ATT ORNEY
    Hon. Ryon, M. McCabe, US Magistrate Judge                     Mark Dispoto, AUSA                                      Kristy Militello, AFPD
   TRIA L DATE(S)                                                 COU R T REPOR TER                                       COUR TR OOM DEPUTY
                        09/23/2024
    PLF.     DEF.               DATE
                                          MARKED     ADMITTED                                      DESCRIPTION OF EXHIBITS*AND WITNESSES
    NO.      NO.               OFFERED


    1                 09/23/2024                                  Golf Course Map

    2                 09/23/2024                                 Photograph of Sniper Nest

    3                 09/23/2024                                 Photograph of SKS Rifle

    4                  09/23/2024                                Photograph of Obliterated Serial Number on SKS Rifle

    5                 09/23/2024                                 Overall Map (Trump International and Martin County)

    6                 09/23/2024                                  Photograph of Letter from Civilian Witness

    7                 09/23/2024                                  Prior Criminal Convictions of Defendant




                                                                  FBI Special Agent Christian Hull




   * Include a notation as to the location of any exhibit not held with the case file or not available because of size.


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